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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                         )

                                                 )
               v.
                                                 )            Criminal No. 5:24-cr-97-TPB-PRL

DANIEL BALL,                                     )

              Defendant.                         )

                     NOTICE OF PRESIDENTIAL PROCLAMATION

       Daniel Ball, by and through undersigned counsel, respectfully gives notice of the

presidential proclamation signed on January 20, 2025 (Proclamation 10887 of January 20, 2025,

“Granting Pardons and Commutation of Sentences for Certain Offenses Relating To The Events

At Or Near The United States Capitol On January 6, 2021”) in which President Donald J. Trump

directed the U.S. Attorney General “to pursue dismissal with prejudice to the government of all

pending indictments against individuals for their conduct related to the events at or near the United

States Capitol on January 6, 2021,” among other things. Exhibit A (Presidential Proclamation as

published in the Federal Register); Exhibit B (Presidential Proclamation as published on

whitehouse.gov).



                                                      Respectfully submitted,

                                                      _________/s/_______________
                                                      Amy C. Collins
                                                      D.C. Bar No. 1708316
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                                                      Counsel for Daniel Ball



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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 30th day of January 2025, I caused a true and correct

copy of the foregoing Notice to be delivered via CM/ECF to all parties.


                                                    _________/s/_______________




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